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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 NANCY SHER, ET AL.,
                 Plaintiffs,

 vs.                                                          Case No.8:08-CIV-889-T-33TGW

 RAYTHEON COMPANY,
               Defendant.
                                                    /

                            SECOND AMENDED
              CASE MANAGEMENT AND SCHEDULING ORDER
        1.     TRIAL: This case is scheduled for a jury trial in Tampa, Florida, during the
 Court’s May, 2011 trial calendar. Estimated length of trial is several weeks.

         2.     PRETRIAL CONFERENCE: A Pretrial Conference will be held before the
 Honorable Virginia M. Hernandez Covington, United States District Judge, in the Sam M.
 Gibbons United States Courthouse, Courtroom 14B, Fourteenth Floor, Tampa, Florida, on
 Thursday, April 7, 2011, at 9:00 a.m.. Parties are directed to meet the pretrial disclosure
 requirements and deadlines in Fed. R.Civ. P. 26(a)(3) and to adhere to all requirements in Local
 Rule 3.06 concerning final pretrial procedures. The parties shall file a JOINT Pretrial
 Statement on or before March 31st, 2011. Failure to do so, may result in the imposition of
 sanctions. The Pretrial Conference shall be attended by lead trial counsel who is vested with full
 authority to make agreements touching on all matters pertaining to the trial.

        3.     Pursuant to the Order entered by the Court on April 13, 2010 (Doc. 208), the
 below listed deadlines are extended and the parties are directed to meet the agreed upon terms
 and time limits as follows:

        A.      Deadline for completion of depositions of plaintiffs’ merits experts is May 6,
                2010. Defendant’s merits expert reports are due June 11, 2010. Deadline for
                completion of depositions of defendant’s merits experts is July 2, 2010.
                Plaintiffs’ rebuttal merits expert reports are due July 23, 2010. Completion of
                Depositions of Plaintiffs’ rebuttal merits experts shall be on or before August 13,
                2010.

        B.      Any Daubert motions must be filed no later than September 16, 2010. Responses
                to any Daubert motions must be filed no later than October 19, 2010.

        4.    DISPOSITIVE MOTIONS CUTOFF: Dispositive motions shall be filed on or
 before November 16, 2010. Responses to dispositive motions should be filed no later than
 December 14, 2010.
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         5.    Motions to amend any pleading or to continue the pretrial conference, trial or any
 other scheduled deadlines are distinctly disfavored after entry of the Case Management and
 Scheduling Order. (See Local Rules 3.05(c)(2)(E) and 3.05(c)(3)(D)).

        6.     SUMMARY JUDGMENT PROCEDURES: The following procedures shall be
 followed by the parties:

               (a)     A party's claims or defenses for which summary judgment is sought shall
                       be presented in a single motion, and legal memorandum. Multiple
                       motions for summary judgment will not be permitted.

               (b)     Any party opposing a summary judgment motion shall file a memorandum
                       of law in opposition no later than twenty (20) days after the filing date of
                       the motion.

               ©)      Pursuant to Rule 56©), Fed.R.Civ.P., as interpreted by the Eleventh
                       Circuit Court of Appeals, the parties are hereby put on notice that the
                       Court will take any motion for summary judgment and all materials
                       in support or in opposition thereto under advisement as of the last day
                       for filing pleadings pertaining to the motion for summary judgment,
                       as that date is mandated by the rules of procedure or by order of the
                       Court. Failure to respond to a motion for summary judgment shall
                       indicate there is no opposition to the motion and may result in final
                       judgment being entered without a trial or other proceeding.

               (d)     Motions to extend time or to alter any requirements set forth in this order
                       or the other rules governing summary judgment motions, including the
                       page limit for memoranda of law pursuant to the Local Rules, are
                       distinctly disfavored.

               (e)     Oral argument or hearings will generally NOT be held on the motion.

        7.     CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28
 U.S.C. 636(c) and Fed.R.Civ.P.73, the parties may consent to have the assigned United States
 Magistrate Judge conduct any and all further proceedings in this case, including the trial.

        8.      SETTLEMENTS: Counsel shall immediately notify Chambers or the
 Courtroom Deputy Clerk if their case has settled. (See Local Rule 3.08). Notices of settlement
 must be in writing.

        DONE and ORDERED at Tampa, Florida,             10th      day of May, 2010.
